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 2   JEROME E. MATTHEWS
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     Suite 650
 4   Oakland, CA 94607-3627
     Telephone: (510) 637-3500
 5
     Counsel for Defendant MICHAEL DOWNEY
 6

 7

 8                            IN THE UNITED STATES DISTRICT COURT

 9                        FOR THE NORTHERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                      )        No. CR-05 00651 CW [WDB]
                                                    )
12                          Plaintiff,              )        STIPULATION AND ORDER
                                                    )        MODIFYING RELEASE CONDITIONS
13   vs.                                            )
                                                    )
14   MICHAEL DOWNEY, et al.,                        )
                                                    )
15                                                  )
                       Defendants.                  )
16   _____________________________________

17

18
            Michael Downey was released from New Bridge by order of this Court, and his travel is
19
     restricted to the Northern District of California. He presently is employed full time, and his work
20
     requires travel within both the Northern and Eastern Districts of California. The parties believe
21
     that it is in Mr. Downey’s best interests to maintain his employment prior to surrendering himself
22
     to serve his custody term in this matter.
23
            It is therefore STIPULATED AND AGREED that Mr. Downey may travel within the
24
     Northern and Eastern Districts of California, subject to continued supervision by U.S. Pretrial
25
     Services.
26


     STIP/ORD                                           1
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 3
                                                          /S/
 4   Dated: August 7, 2006                         ____________________________
                                                   KIRSTIN AULT
 5                                                 Assistant United States Attorney

 6

 7                                                               /S/
     Dated: August 3, 2006                         ____________________________
 8                                                 JEROME E. MATTHEWS
                                                   Assistant Federal Public Defender
 9

10
                                                                  /S/
11
     Dated: August 3, 2006                         _____________________________
12                                                 VICTORIA GIBSON
                                                   U.S. Pretrial Services Officer
13

14   I hereby attest that I have on file all holograph signatures for any signatures indicated by a

15 “conformed” signature (/S/) within this e-filed document.

16         Good cause appearing therefor, IT IS ORDERED that Michael Downey may travel within the

17 Northern and Eastern Districts of California. Mr. Downey shall continue to be subject to supervision

18 by Pretrial Services, and shall abide by such conditions as Pretrial Services deems appropriate.

19                                                            S DISTRICT
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20 Dated: August 10 , 2006
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                                                       D IS T IC T O
24                                                           R
                                                 ______________________________
                                                 WAYNE D. BRAZIL
25                                               United States Magistrate Judge

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     STIP/ORD                                            2
